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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA

KLOOSTERBOER INTERNATIONAL               )
FORWARDING LLC and ALASKA                )
REEFER MANAGEMENT LLC,                   )
                                         )
                Plaintiffs,              )
                                         )         Case No.: 3:21-cv-00198 (SLG)
       vs.                               )
                                         )
U.S.A., U.S. DEPT. OF HOMELAND           )
SECURITY, U.S. CUSTOMS AND               )
BORDER PROTECTION, and TROY A.           )
MILLER, Acting Commissioner,             )
                                         )
                Defendants.              )


                  MEMORANDUM OF LAW IN
        FURTHER SUPPORT OF PLAINTIFFS’ MOTION FOR A
  TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

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       Plaintiffs Kloosterboer International Forwarding LLC (“KIF”) and Alaska Reefer

Management LLC (“ARM”) submit this Reply Memorandum of Law in Further Support of

their Motion for Temporary Restraining Order and Preliminary Injunction, respectfully

showing as follows:

                            PRELIMINARY STATEMENT 1

       Plaintiffs’ Motion demonstrated that this Court’s urgent intervention is essential to

prevent CBP’s shocking and unconstitutional overreach in continuing to assess massive,

confiscatory and unprecedented penalties for purported Jones Act violations against

Plaintiffs and other companies—penalties that have brought to a screeching halt and

threaten the permanent collapse of the Dutch Harbor, Alaska to eastern United States

frozen seafood supply.

       In urging the Court to deny this critically needed relief, defendants’ opposition

(“Opposition” or “Dkt. 38”) confirms that CBP’s secretive conduct—in reversing its own

Ruling Letters without public notice—is blatantly unconstitutional. Moreover, defendants

do not and cannot refute Plaintiffs’ showing that, consistent with a long series of CBP

Ruling Letters, every aspect of Plaintiffs’ through route from Alaska to the eastern United

States complies with the Third Proviso to the Jones Act.

       Defendants state that more than four years ago—on April 12, 2017—a private law

firm, acting at the behest of a complainant, presumed to be an industry competitor, sent a



1
 Defined terms herein have the meaning provided in Plaintiffs’ Memorandum of Law in
Support of Motion for Temporary Restraining Order and Preliminary Injunction (the
“Motion” or “Dkt. 5”). All emphasis is added unless otherwise noted.
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letter to CBP alleging that Plaintiffs may have violated the Jones Act because they were

utilizing the Dutch Harbor to eastern U.S. transportation route, through Bayside, for the

transport of frozen seafood based on a purportedly inadequate tariff filing with the STB.

CBP claims that this complaint triggered a “lengthy investigation and internal evaluation”

that included reviewing two videos downloaded from the internet showing the BCR rail

line movement and several photos of the BCR rail line.

       None of the information in those materials was unknown—or could have been

surprising—to CBP. Not only had Plaintiffs been transparent regarding their use of the

BCR rail line since 2012, but the Bayside Program was known to CBP and authorized by

CBP’s multiple Ruling Letters that remain in full force and effect approving a substantially

identical through route.

       Despite the complete public visibility of all details of the Bayside Program to both

CBP and the general public, and the evidence that Plaintiffs acted reasonably, in reliance

on the applicable CBP rulings, CBP sat back and watched the Bayside Program progress

for well over four years without a single word to Plaintiffs or anyone else involved in the

Program that might provide notice of an investigation as to whether the Bayside Program

complied with the Third Proviso. Indeed, CBP never notified Plaintiffs that,

notwithstanding CBP’s consistent rulings that a tariff filing was not required for Third

Proviso compliance in these circumstances, CBP had reversed its position and intended to

bring a massive enforcement action based on its new position, without providing for public

review and comment.


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       CBP also never notified Plaintiffs that, although CBP consistently held in its public

Ruling Letters that there was no minimum travel distance required to satisfy the Canadian

rail requirement in the Third Proviso, CBP secretly reversed its rulings with the intent to

challenge the BCR’s compliance. And then, directly in the middle of the pollock “B

season,” possibly the most critical time of the year for fishing companies and customers

processing frozen fish products, CBP began issuing hundreds of Penalty Notices to

companies in every link in the Bayside Program supply chain, even though it surely knew

that the timing and the magnitude of the proposed penalties would have the maximum

destructive impact on the entire U.S. pollock industry.

       Equally egregious is CBP’s conduct after it issued these massive penalty notices.

Because Plaintiffs had not changed anything in their transportation through route in nearly

a decade, and believed at all times that they were operating in complete compliance with

CBP’s Ruling Letters and the Third Proviso, once Plaintiffs received the notices, they

immediately contacted CBP. Through numerous telephone calls with senior CBP

attorneys, Plaintiffs repeatedly requested information concerning the basis for CBP’s

sudden charge that they were violating the Jones Act. CBP refused to explain the basis for

the purported violations other than in the most general and vague terms. It was only with

the filing of the Opposition on September 10, 2021, that CBP, for the first time, disclosed

the flawed reasoning underlying its unconstitutional and deficient Penalty Notices. Most

remarkable is CBP’s purported excuse for not providing any notice, much less the

statutorily and constitutionally-required notice—which was nothing more than CBP’s

speculation that Plaintiffs had “no intention” to change the Bayside Program so prior notice
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of the violations would not have changed anything. “The outcome would thus have been

the same[.]” (Dkt. 38 at 31).

       CBP’s Opposition relies not just on speculation, but on revisionist history, in trying

to supply an after-the-fact justification for CBP’s unannounced about-face on the standards

governing the Third Proviso. CBP does not and cannot come close to rationalizing its

failure to engage in the required notice and comment regulatory process before suddenly

reversing course and imposing massive Penalty Notices for conduct that CBP’s internal

rulings held for over twenty years was entirely in compliance with the Third Proviso. CBP

fails to rebut Plaintiffs’ showing of likelihood of success on each of its claims and entirely

sidesteps Plaintiffs’ incontrovertible showing of immediate and continued irreparable harm

warranting injunctive relief. CBP’s main defense—that the Bayside Program using the

NBSR was compliant prior to 2012, but that the BCR private carriage rail to “nowhere” is

so materially different from the prior use of the NBSR that it violates the Third Proviso—is

entirely baseless. The BCR rail line fully complies with the Third Proviso to the letter of

the law in every way, as consistently interpreted by CBP.

       The BCR rail line, developed and constructed specifically to comply with the clear

and unequivocal terms of the Third Proviso, is not “radically different” in purpose and

effect from the NBSR rail line used by Plaintiffs before 2012, to which CBP had and

continues to have no objection and encourages Plaintiffs to resume using. Like the NBSR,

the BCR rail line fits squarely within the existing CBP regulatory guidance on the Third

Proviso: it is indisputably a registered Canadian rail line; the goods are loaded onto it and

travel a short distance—and neither CBP nor any court has ever held that there is a de
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minimis required distance or that the route must be “commercially sound” to invoke the

Third Proviso.

        CBP’s abrupt change of its guidance without any notice to Plaintiffs or others in the

supply chain is flatly unconstitutional and injunctive relief must be granted to Plaintiffs, for

numerous reasons.

        First, in now attempting to walk away from its well-established interpretive rulings

on the Third Proviso that CBP never modified or revoked even after the Horizon decision,

and by issuing such enormous penalties that the entire supply chain cannot resume

operations, CBP is violating Plaintiffs’ constitutional and statutory due process rights.

Where, as here, Plaintiffs have raised substantial constitutional questions, the relief sought

pendente lite is expressly authorized and, indeed, mandated under the constitutional tolling

doctrine to prevent unredressable violations of constitutional rights, particularly given the

enormity of threatened immediate irreparable harm. Application of the constitutional

tolling doctrine is crucial to avoiding the Hobson’s choice facing Plaintiffs and others in

the supply chain—between complying with an unconstitutional government directive or

financial destruction—which is precisely why this doctrine has been invoked by the

Supreme Court and the Ninth Circuit. In fact, there could hardly be a set of facts under

which the doctrine would be more essential.

        In short, CBP does not and cannot refute Plaintiffs’ overwhelming showing that

there are, at a minimum, substantial questions concerning CBP’s ongoing violation of their

due process rights—constitutional violations which by definition are themselves irreparable

harm.
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       Second, CBP tries to dismiss Plaintiffs’ substantial evidence of financial and other

irreparable harm caused by its reckless enforcement conduct by attempting to blame the

victim and claiming that Plaintiffs “brought this situation on themselves.” (Dkt. 38 at 3).

Apart from the fact that CBP has been fully aware of Plaintiffs’ conduct for over four

years, CBP’s reasoning ignores the immediate irreparable harm threatened by CBP’s

penalties not only to Plaintiffs but also to all those who participate in and benefit from the

Bayside Program. CBP’s accusation simply ignores the declarations submitted by

Plaintiffs and their customers concerning the immediate irreparable harm threatened by

CBP’s existing and future penalties, and ignores the devastating impact of the penalties—

which were sprung on Plaintiffs and supply chain participants after their professed four-

year investigation. Never once during those more than four years did CBP ever seek any

information as to Plaintiffs’ reasoning concerning its compliance, or even indicated that it

was investigating the Bayside Program so Plaintiffs, if appropriate, could have

considered viable alternatives. This recklessness is now wreaking havoc on Plaintiffs,

their customers, their business partners, and countless American workers and consumers.

Moreover, CBP’s unprecedented enforcement action serves no public interest. It seems

designed not to seek compliance, but rather the very destruction of an important sector of

the frozen seafood market from Alaska to the east coast by burying all participants in

massive and cumulative penalties for what, at most, are technical tariff violations.

       Third, CBP does not rebut Plaintiffs’ showing of likelihood of success on the merits

of Plaintiffs’ claims. CBP’s contention that the BCR does not constitute “transportation”

over a “through route” is contrary to the plain meaning of the Third Proviso, and is
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expressly contradicted by CBP’s own longstanding guidance on the Third Proviso and

inconsistent with the limited role of the STB with respect to tariffs. Here, the entire Alaska

to eastern United States “through route” is at issue, not just the BCR line, and the Bayside

Program remains the same as before 2012, except for a change in the Canadian rail line

used. And even assuming, arguendo, the 2006 tariff filing by ASC was required after the

Horizon decision, that tariff remains in effect at the STB and is not invalid as applied to

Plaintiffs. CBP has failed to engage in the rulemaking it was required to conduct after

Horizon if it intended to reverse its more than twenty years of rulings and to impose a

dramatically different interpretation of Third Proviso requirements. CBP’s failure to

engage in notice and comment rulemaking blatantly violates 19 U.S.C. § 1625 and

Plaintiffs’ due process rights.

       Plaintiffs have a strong likelihood of success on the merits of their claims, the threat

of immediate irreparable harm caused by CBP’s unconstitutional and unlawful conduct,

and a balance of equities that tips so decidedly in Plaintiffs’ favor that CBP does not even

attempt to contest Plaintiffs’ showing. The self-serving, formulaic affidavits of industry

competitors who stand to benefit from the destruction of Plaintiffs’ businesses should be

given no weight by this Court. 2 Immediate injunctive relief is essential to prevent the


2
  CBP also submitted a Declaration of Michael Hebert, Chief of the Jones Act Division
of Enforcement. (Dkt. 39). Mr. Hebert is a fact witness improperly advancing legal
argument through his Declaration. Mr. Hebert is not responsible for investigation or
determination of Jones Act violations for CBP and he lacks authority to issue penalty
notices for such violation or to establish a legal position on behalf of CBP. Rather, all of
the authority of Port Directors to determine the admissibility of merchandise and issue
penalties is delegated to Customs Centers for Enforcement and Expertise and Fines,
Penalties and Forfeitures Officers. See (Declaration of David Karl, dated September 14,
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 demise of Plaintiffs’ businesses and the collapse of the vital Alaska-eastern United States

 frozen seafood transportation route and supply chain, at the hands of an overreaching

 agency seeking to impose its enforcement mandate without adhering to fundamental due

 process requirements and applicable administrative procedures to which it is statutorily

 bound.

                                              ARGUMENT

I.          THE CONSTITUTIONAL TOLLING DOCTRINE MANDATES THE
            BROAD INJUNCTIVE RELIEF SOUGHT BY PLAINTIFFS.

            A.      The Court Should Enjoin CBP From Issuing Any Further Penalty
                    Notices Related to the Bayside Program While Plaintiffs Seek to
                    Vindicate Their Rights.

            CBP claims that the relief sought by Plaintiffs in this case is “breathtaking” and

     “striking.” (Dkt. 38 at 3, 35). Histrionics aside, the relief sought is reasonable and

     mandated under the constitutional tolling doctrine, a long-standing, judicially established

     principle that protects litigants while they seek to vindicate their rights in the face of

     enormous potential fines. There is nothing unusual about the proposed relief, which is

     expressly authorized by Supreme Court and Ninth Circuit precedent. See, e.g., Oklahoma

     Operating Co. v. Love, 252 U.S. 331, 338 (1920); United States v. Pacific Coast Eur.

     Conf., 451 F.2d 712, 717 (9th Cir. 1971). Moreover, the injunctive relief sought here is

     more than justified based on the massive and ever-mounting penalties CBP has issued—




 2021 (“Gross Reply Dec.”) Ex. 3, CBP Delegation Guidance available at
 https://www.cbp.gov/sites/default/files/assets/documents/2021-
 May/Delegation%20Order%20Guidance%20for%20the%20Trade%20Community_0.pdf,
 last visited Sept. 13, 2021.
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which amount to multiples of the value of the shipped products when all those in the

supply chain receiving Penalty Notices for the same shipment are included 3—and

threatens to continue issuing, and the substantial questions raised by Plaintiffs as to the

lawfulness of those penalties.

         CBP attempts to invalidate the controlling constitutional tolling argument by

relying on United States v. Louisiana-Pac. Corp., 967 F.2d 1372 (9th Cir. 1992)

(“Louisiana Pacific”). CBP argues that Louisiana Pacific “is closer to the facts here”

than the authorities cited by Plaintiffs 4 and that the case holds that constitutional tolling is

unavailable when a plaintiff contests the interpretation—rather than the validity—of a

statute. (Dkt. 38 at 35-36). CBP’s argument is meritless.

         The facts in Louisiana Pacific are materially different from the facts here. In

Louisiana Pacific, a company voluntarily entered into a consent order with the Federal

Trade Commission (“FTC”), pursuant to which it agreed, for anticompetitive reasons, to

divest a manufacturing plant within two years of the order. Louisiana Pacific, 967 F.2d

at 1374. Approximately one year into the two-year divesture period, the company filed a

petition with the FTC to reopen the consent order, but the FTC denied the request. One

month before the expiration of the two-year divesture period, the company requested an

extension of eighteen months within which to divest the manufacturing plant. The FTC

denied this extension and the divestiture period lapsed. When the government


3
 See Declaration of Jennifer Adamski, dated September 13, 2021 (“Adamski Reply
Dec.”) ¶ 8.
4
    See Dkt. 5 at 18-20.
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commenced an action against the company for civil penalties for violating the terms of

the consent order, the company argued that constitutional tolling barred the penalties

issued by the FTC because the agency had refused to reopen the consent order, but did

not challenge the validity of the consent order that was the basis of the penalties. The

court denied application of the constitutional tolling doctrine. Id.

       However, the company in Louisiana Pacific, unlike Plaintiffs here, had entered

into a voluntary agreement with the government, and then breached that agreement.

Under those circumstances, and because the company had “waived its right to obtain

judicial review of the consent order,” the company naturally could not invoke

constitutional tolling to avoid fines resulting from its breach. See id. at 1378. 5 Here, in

stark contrast, Plaintiffs have not waived their right to judicial review and are not

challenging a voluntary agreement, but instead challenge the constitutionality and legality

of CBP’s conduct under the Jones Act through the issuance and threatened issuance of

crippling, business-destroying penalties.

       Moreover, the company in Louisiana Pacific knew that the accruing penalties

arose from its direct violation of the consent order because of its failure to timely divest

the plant. Here, it is the precise opposite. CBP is issuing and threatening to issue




5
 The case Louisiana Pacific cites, referenced by Defendants, is Brown & Williamson
Tobacco Corp. v. Engman, 527 F.2d 1115 (2d Cir. 1975). This case likewise involves
penalties accruing for violation of FTC consent orders and is distinguishable on the same
grounds.
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penalties for conduct by Plaintiffs that has been in full compliance with the Jones Act, the

Third Proviso and CBP Ruling Letters issued over a period of more than two decades.

       Nor is there any support for CBP’s argument that constitutional tolling is available

only to a party testing the facial validity of a statute. (Dkt. 38 at 35-37). The Ninth

Circuit in Wadley S. Ry. Co. v. State of Georgia rested its holding on the Supreme Court’s

exposition on the scope and purpose of constitutional tolling, which is not so limited:

       [U]nder the Constitution[,] penalties cannot be collected if they operate to
       deter an interested party from testing the validity of legislative rates or
       orders legislative in their nature. Their legality is not apparent on the face
       of such orders, but depends upon a showing of extrinsic facts. A statute,
       therefore, which imposes heavy penalties for violation of commands of an
       unascertained quality is, in its nature, somewhat akin to an ex post facto
       law, since it punishes for an act done when the legality of the command has
       not been authoritatively determined. Liability to a penalty for violation of
       such orders, before their validity has been determined, would put the
       part[y] affected in a position where he himself must, at his own risk, pass
       upon the question. He must either obey what may finally be held to be a
       void order, or disobey what may ultimately be held to be a lawful order. If
       a statute could constitutionally impose heavy penalties for violation of
       commands of such disputable and uncertain legality, the result inevitably
       would be that the carrier would yield to void orders, rather than risk the
       enormous cumulative or confiscatory punishment that might be imposed if
       they should thereafter be declared to be valid.

235 U.S. 651, 662 (1915).

       The Wadley Court’s analysis and reasoning apply directly in this case. CBP has

imposed unprecedented “enormous penalties” in a cumulative and confiscatory manner.

46 U.S.C. § 55102(c) (Jones Act penalties must be “equal to the amount of merchandise

or the actual cost of the transportation, whichever is greater”); Am. Mar. Ass’n v.

Blumenthal, 590 F.2d 1156, 1165 (D.C. Cir. 1978) (explaining the punitive nature of

Jones Act penalties). Moreover, the Penalty Notices issued by CBP here appear to be by
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far the largest ever issued in the century-old history of the Jones Act (see Adamski Reply

Dec. ¶ 4-8), which raises substantial questions about the constitutionality of CBP’s

conduct.

        In short, Plaintiffs have reasonable good-faith grounds to challenge the validity of

CBP’s draconian enforcement of the Jones Act and Third Proviso, and should not have to

face the Hobson’s choice of challenging CBP’s unconstitutional conduct or complying to

prevent the threat of further penalties that would destroy their businesses. See Aminoil,

Inc. v. United States, 646 F. Supp. 294, 298 (C.D. Cal. 1986) (permitting constitutional

tolling of penalties accruing under an agency order because the challenge to the validity

of the order was prompt and made in good-faith). The Court should enjoin CBP from

issuing any penalties during the period of this litigation and save Plaintiffs from the threat

of gargantuan, ever-mounting penalties while they seek to vindicate their constitutional

rights. 6




6
  Contrary to CBP’s assertion (Dkt. 38 at 36 n.7), the court in Kansas-Nebraska Nat. Gas
Co. v. Dep’t of Energy denied relief to the plaintiff on staying the accrual of penalties
because it did not have sufficient information or the requisite evidence to “make an
informed judgment on the balance of hardships to the parties”. 1979 WL 998, at *13-14
(D. Kan. July 31, 1979) (where plaintiff did not even formally move the court for
preliminary injunctive relief and held “we must conclude that we lack sufficient
information to pass judgment on a preliminary injunction, even against the accrual of
penalties. . . .”). Defendants ignore this context and overstate the quoted provision as the
Court’s “holding.” (See Dkt. 38 at 36 n.7).
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       B.       CBP Fails To Refute Plaintiffs’ Showing That They Will Suffer
                Irreparable Harm Absent Injunctive Relief.

                1.    Plaintiffs Have Established a Deprivation of their Constitutional
                      Rights.

       Plaintiffs have established both that CBP’s actions deprive Plaintiffs of their rights

to due process under the Fifth Amendment and violate KIF’s constitutional right against

excessive fines under the Eighth Amendment. (See Dkt. 5 at 41-44 and infra pp. 31-38).

The requisite showing of irreparable harm is established based on Plaintiffs’

demonstration of this constitutional harm. See Melendres v. Arpaio, 695 F.3d 990, 1002

(9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).

                2.    CBP Does Not Even Attempt to Refute That Plaintiffs are
                      Suffering and Will Continue to Suffer Irreparable Harm as a
                      Result of CBP’s Penalties.

       CBP does not even attempt to refute Plaintiffs’ showing that—in addition to the

constitutional harm they are suffering the threat of immediate, traditional irreparable

harm and the requested injunctive relief is essential to prevent that harm.

       The declarations filed by Plaintiffs in support of the Motion and in support of this

Reply amply demonstrate the immediate risk that Plaintiffs’ businesses, among others in

the supply chain, will be destroyed in the absence of injunctive relief. 7 (See, e.g., Dkt. 8,

Adamski Dec. ¶¶ 24-29; Dkt. 7, Brautaset Dec. ¶ 35; Adamski Reply Dec. ¶ 9; Declaration



7  ASC has reported that approximately 1.5 million pounds of its frozen seafood products
will be overdue for delivery to customers by end of September, approximately 3 million
pounds are likely at risk for October requirements; and several million pounds will be due
in November and December, and there are no plans to get that cargo to its destination.
(Andreassen Reply Dec. at ¶ 8).
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of Per K. Brautaset, dated September 14, 2021 (“Brautaset Reply Dec.”) ¶ 20;

Declaration of Inge Andreassen, dated September 14, 2021 (“Andreassen Reply Dec.”)

¶¶ 7–10). CBP simply has no response to the unrefuted evidence regarding the destruction

of KIF and ARM’s businesses and their inability to continue providing their domestic

services without the willingness of third-parties to provide trucking, importing, and cold

storage services to the Bayside Program, as well as the threat of immediate harm to

Plaintiffs’ customers. (Dkt. 8, Adamski Dec. ¶ 31; Brautaset Reply Dec. ¶ 20; Andreassen

Reply Dec. ¶ 10). 8

       KIF faces a catastrophic $25 million in direct penalties issued to date—equivalent to

nearly fifteen times its annual net income. (Dkt. 8, Adamaski Dec. ¶ 26). ARM faces

claims from charterers and ship owners who have received penalty notices and are

asserting that ARM is liable for over $65 million in penalties—equivalent to more than

forty times its average net income. (See Dkt. 7, Brautaset Dec. ¶¶ 36-38). Neither KIF, nor

ARM, are able to cover these enormous penalties without facing destruction of their

businesses. (Dkt. 7, Brautaset Dec. ¶¶ 36-38; Dkt. 8, Adamaski ¶¶ 26, 37).

       The sheer magnitude of the penalties, coupled with the fact that while Plaintiffs’

businesses are paralyzed, they risk a permanent loss of their customers, plainly constitutes




8
 Additionally, as Plaintiffs noted, if KIF is unable to deliver its customers’ products
currently stored in Bayside, KIF will be forced to return such seafood products to Dutch
Harbor, which is already experiencing serious cold storage constraints. (See Declaration
of Andy Pillon, dated September 13, 2021 (“Pillon Dec.”) ¶¶ 5–6, 11). This will result in
unnecessary waste, cost, and will also cause additional months of delay in delivery to the
ultimate end-customers. (Dkt. 8, Adamski Dec. ¶ 31; Andreassen Reply Dec. ¶¶ 7–8).
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the type of irreparable harm meant to be prevented by injunctive relief. See Am. Passage

Media Corp. v. Cass Commc’ns, Inc., 750 F.2d 1470, 1474 (9th Cir. 1985) (“The threat of

being driven out of business is sufficient to establish irreparable harm.”); Mahroom v. Best

W. Intern., Inc., No. C 07–2351 JF (HRL), 2009 WL 248262, *3 (N.D. Cal. Feb. 2, 2009)

(“‘Major disruption of a business can be as harmful as its termination and thereby

constitute irreparable injury,’” quoting Petereit v. S.B. Thomas, Inc., 63 F.3d 1169, 1186

(2d Cir. 1995)); Stuhlbarg Int’l. Sales Co., Inc. v. John D. Brush and Co., Inc., 240 F.3d

832, 841 (9th Cir. 2001) (“threatened loss of prospective customers or goodwill” supports

preliminary injunction).

       CBP argues that Plaintiffs have not adequately explained why they have not “simply

resumed using the NBSR route that CBP has already sanctioned.” (Dkt. 38 at 39). This

disingenuous argument, which suggests that Plaintiffs’ bear full responsibility for their

current inability to operate their businesses, is unfounded and contradicted by the

indisputable facts. 9


9
  Additionally, CBP attempts to refute Plaintiffs’ firmly established point that there are
extremely limited viable transportation alternatives out of Dutch Harbor (see Brautaset
Dec. ¶¶ 19-29) by offering declarations from Coastal Transportation Inc. (“Coastal”)
(ECF No. 40), Alaska Marine Lines Inc. (“AML”) (ECF No. 41), Matson Navigation
Company, Inc. (“Matson”) (ECF No. 42), and Samson Tug & Barge Company, Inc.
(“Samson”) (ECF No. 43) (collectively the “Shipping Declarants”). The Shipping
Declarants baldly assert that they have additional or sufficient capacity to transport all
seafood products produced in Alaska—an assertion that defies the reality of the
transportation situation in Dutch Harbor, which is fraught with capacity and reliability
complications caused by congestion in western United States ports, a lack of cold storage
in Dutch Harbor, a shortage of refrigerated containers and related equipment, competition
from shippers transporting higher value seafood products from various Alaskan ports,
harsh weather conditions in the late fall and early winter, and delayed and unpredictable
sailing schedules. (Brautaset Reply Dec. ¶¶ 3-18). Contrary to the Shipping Declarants’
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        First, as explained in Plaintiffs’ supporting declarations, CBP’s issuance of

excessive penalties alone threatens the immediate and irreparable destruction of Plaintiffs’

businesses and reputations. And the threats of future penalties are the nails in the coffin.

        Second, third-parties essential to the operation of the Bayside Program have made

the decision not to provide services to Plaintiffs because of the penalty notices they have

already received and the threat of future penalties. Without these third-parties, the Bayside

Program cannot resume—regardless of the feasibility of returning to the NBSR (which is

not possible as explained below) or if Plaintiffs were able to pay CBP’s crushing

penalties. 10

        Third, even if all of Plaintiffs’ third-party partners were willing to resume operations

(which they are not), a return to the NBSR railway that the Bayside Program has not used

in nearly ten years (Dkt. 8, Adamski Dec. ¶ 15) cannot be automatically accomplished.

(See Brautaset Reply Dec. ¶ 19). 11



assertions, their vessel and barge services are not able to accommodate the shipping
needs and requirements of the shippers who utilize the Bayside Program. (Id.)
10
   Very limited alternatives exist for shipping frozen seafood products from Dutch Harbor
to the contiguous United States. (Andreassen Reply Dec. ¶ 4). The four shippers
providing service from Dutch Harbor will be extremely challenged over the balance of
the year to reliably and expeditiously transport seafood products to the contiguous United
States (Andreassen Reply Dec. ¶¶ 4-7). And cold-storage capacity in Dutch Harbor is
extremely limited, and has been further strained due to the suspension of the Bayside
Program. (Pillon Dec. ¶ 5–6, 11). Even if frozen seafood could be moved to the west coast
of the United States, there is insufficient cold-storage capacity and cross-country
transportation options to timely move the product to the Eastern U.S. (See Andreassen
Reply Dec. ¶ 9).
11
   As set forth in the Brautaset Reply Declaration, “[t]he section of the NBSR that was
previously utilized in the Bayside Program” which was located in St. John, “is no longer
active.” (Brautaset Reply Dec. ¶ 19). In addition, “the infrastructure and equipment
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             And fourth, CBP’s assertion that Plaintiffs immediately can resume use of the

   NBSR rail program flies in the face of CBP’s claim that the current tariff filing is

   defective. Despite CBP’s flippant suggestion to the contrary, any return to using the

   NBSR is uncertain at this time, would require the cooperation of the NBSR, and could

   not be a timely remedy to the irreparable and ongoing harm caused by the issuance of the

   Penalty Notices.

II.          CBP FAILS TO REBUT PLAINTIFFS’ SHOWING THAT THEIR CLAIMS
             ARE LIKELY TO SUCCEED ON THE MERITS.

             CBP fails to refute Plaintiffs’ showing that they are likely to succeed on the merits

   of at least one of their claims. See Bernie’s Pharmacy, Inc. v. AmerisourceBergen Drug

   Corp., No. 3:18-CV-00183-TMB, 2018 WL 9816097, at *4 (D. Alaska Aug. 24, 2018). In

      the alternative, Plaintiffs raise a “serious question” as to the merits of their claims and “the

      balance of hardships tips sharply” in Plaintiffs’ favor. Sovereign Iñupiat for a Living

      Arctic v. Bureau of Land Mgmt., 516 F. Supp. 3d 943, 950 (D. Alaska 2021).




  necessary to load, unload and transport the trucks and their cargo are not readily
  available.” (Id.). The NBSR also does not have “flatbed rail cars readily available to
  accommodate the trucks and trailers” and craning the tractor trailers is not an option
  inasmuch as it would destroy the trailers. (Id.). Even if a NBSR railway outside of St.
  John were available, Plaintiffs would have to locate and procure reefer containers as a
  replacement for the tractor trailers “so the product could be off-loaded from the trucks
  and then later re-loaded.” (Id.). Additionally, “the cost of recreating the previous railway
  in St. John, assuming approvals were obtained, could require the creation of a rail bridge.”
  (Id.)
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       A.       CBP’s Own Rulings Demonstrate That Plaintiffs Are Likely to Succeed
                on Their Declaratory Judgment Claim that the Bayside Program
                Complies with the Third Proviso.

       CBP argues that the Bayside Program does not comply with the Third Proviso

because Plaintiffs’ use of the BCR, which simply runs a short distance from Point A to

Point B and returns to Point A, is not “transportation” over a “through route” involving a

point of origin and a point of destination, because it is not “continuous” and does not

connect two separate points. (Dkt. 38 at 15-21). None of these arguments has any merit

and nothing could be further from the truth.

                1.    CBP’s “Through Route” and “Transportation” Arguments
                      Regarding the BCR are Meritless.

       CBP argues that, for purposes of complying with the Third Proviso, a Canadian rail

line must connect two separate points to constitute “transportation,” even though no such

requirement is set forth either in the Jones Act, the Third Proviso or in any of CBP’s own

rulings interpreting the Third Proviso. CBP’s arguments concerning the definitions of the

terms “transportation” and “through route” ignore the plain language of the Third Proviso,

and the well-settled legal and customary meaning of those terms, including CBP’s own

Ruling Letters. First, it is indisputable that the BCR is part of the through route that

involves “transportation of merchandise” from Dutch Harbor to the eastern United States.

This newly-concocted argument is premised on nothing more than a basic definition of the

term “transportation” in a dictionary CBP has relied on. (Dkt. 38 at 17-18). CBP’s

argument is flawed because it has no basis for imposing statutory requirements that are not

in the plain language of the statute and otherwise without any authoritative support.


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       CBP relies on the same sophistry in twisting the definition of “through route.” 12

The Third Proviso’s reference to “through route,” contrary to CBP’s argument, does not

refer only to “connecting railroads for the continuous carriage of goods” from the

originating point on the line of one carrier to a destination on the line of another. (Dkt.

38 at 15-16). 13 The term “continuous” appears nowhere in the plain text of the Third

Proviso, but instead again has been inserted by CBP. The Third Proviso actually applies

to the “transportation of merchandise between points in the continental United States,

including Alaska, over through routes in part over Canadian rail lines and connecting

water facilities.” 46 U.S.C. § 55116. Thus, as permitted, the Canadian rail component of



12
   CBP also states that Plaintiffs “fails to disclose that the train reverses itself and returns
with the merchandise to its original position” on the BCR. (Dkt. 38 at 10). This is
simply not true. In every Bill of Lading presented to CBP at the Calais, Maine border
crossing for almost an entire decade, the BCR route is listed as:
         Bayside, NB – North Bayside #1 – TO – South Bayside #2 – And Return
(See Dkt. 7-4 at 5). Plaintiffs have never hidden the BCR’s true route and CBP has been
on notice of it for its entire period of operation. (See Declaration of Darrell B. Weare,
dated September 14, 2021 (“Weare Dec.”) ¶ 7; Dkt. 8, Adamski Dec. ¶ 13).
13
   CBP argues that Plaintiffs’ citations to United States v. Louisiana & P.R. Co., 234 U.S.
1 (1914) and Sea-Land Serv., Inc. v. Fed. Mar. Comm’n, 404 F.2d 824 (D.C. Cir. 1968),
are “inapposite” because those cases do not involve the Third Proviso. That misses the
point. CBP cited those cases in its Horizon briefing for the proposition that “[t]hrough
routes have historically been validated in situations where one of the participating
transporters activities have been extremely minimal.” (Dkt. 6-17 at 13). Moreover, none
of the cases CBP cites involve interpretation of the Third Proviso and instead relate only
to rail carriers (see. e.g., St. Louis Sw. Ry. Co. v. United States, 245 U.S. 136 (1917)
(considering the ICC’s regulatory authority in the context of only railroad carriers). CBP
ignores the multitude of applicable cases involving through routes consisting of
intermodal transportation. See, e.g., Cent. Vermont Transp. Co. v. Durning, 294 U.S. 33,
40 (1935) (describing the Interstate Commerce Act, which authorized the “Commission
to establish through routes and maximum joint rates over such rail and water lines.”).
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the Bayside Program is merely a part of a longer through route, from Dutch Harbor to the

eventual destination of the product in the United States. Accord Trailer Marine Transp.

Corp. v. Fed. Mar. Comm’n, 602 F.2d 379, 394 (D.C. Cir. 1979) (defining “through

routes” involving rail and water segments of transportation as routes “that extend in their

entirety from the coastal points on one water carrier’s route to the costal points on

another water carrier’s route”). CBP is attempting impermissibly to re-write the Third

Proviso.

       Moreover, long-settled legal and customary meaning of the term “through route”

establishes that it refers to intermodal transportation, including both the land (by truck

and/or train) and sea portions of a voyage, and refers to the entirety of the journey, not

just the rail component. See United States v. Pennsylvania Ry. Co., 323 U.S. 612, 615

(1945); accord Norfolk S. Ry. Co. v. Kirby, 543 U.S. 14, 25-26 (2004) (discussing the

popularity of “through” bills of lading “in which cargo owners can contract for

[intermodal] transportation across oceans and to inland destinations in a single

transaction”); Trailer Marine, 602 F.2d at 396 (defining “through routes” involving rail

and water segments of transportation as routes “that extend in their entirety from the

coastal points on one water carrier’s route to the costal points on another water carrier’s

route”).

       CBP’s newly-contrived definition of “through route” also directly contradicts its

prior interpretive rulings on this exact issue. CBP issued a Ruling Letter in connection

with responding to an argument that an Alaska-eastern U.S. frozen seafood shipper

(Sunmar) had not complied with the Third Proviso because the route it utilized was
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“commercially absurd and a purposeless diversion from the ‘through’ or ‘direct’ route the

Third Proviso . . . requires.” (Gross Dec. Ex. 1, Ruling Letter 116021 at 1). In Ruling

Letter 116021 (dated January 21, 2004), Horizon Lines sought revocation of Ruling Letter

115446 regarding Sunmar’s compliance with the Third Proviso. In rejecting that argument,

CBP stated:

          [T]he Third Proviso does not state a “direct” route should be used, it instead
          uses the term “through” route in part over Canadian rail lines. We have long
          held that “in part over Canadian rail lines” is any use of Canadian rail. The
          Third Proviso does not have a de minimis requirement for “in part over
          Canadian rail lines,” nor has CBP in the last twenty years read such a “de
          minimis requirement into the statute.”

(Gross Reply Dec., Ex. 1 at 5 (citing Ruling Letters 105604, 113141, 113365, 114407, and

115124)). Not once in this Ruling Letter or any of the referenced Ruling Letters has CBP

determined that any part of the “through route” needs to be “continuous.” CBP’s sole

support for its contention concerning the meaning of “through route”—once again, a

definition found in a single dictionary—should not be accorded any weight in light of the

plain statutory language, CBP’s prior Ruling Letters and the well-settled legal and industry

meaning of the term. In other words, there is no requirement, either statutorily or in CBP’s

interpretive rulings, that the BCR must be a certain length, travel for a set duration,

constitute a meaningful percentage of the total through route, or even connect two distant

points.

                 2.     The Canadian Rail Line is Not Required to be “Commercially
                        Sound” Under the Third Proviso.

          CBP tries to avoid its prior position on the “commercial soundness” requirement by

arguing that the BCR’s “inherent nature” does not meet the statutory requirements of the

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Third Proviso. This constitutes nothing more than the injection of meaningless semantics

to attempt to conceal the essence of its attack against the BCR: that the rail movement is

not commercially reasonable. CBP cannot take this position given its prior interpretive

rulings, its judicial admissions in its Horizon briefing as to the lack of any commercial

requirement, 14 and the court’s decision in Horizon, without publishing its proposed

revision or modification pursuant to 19 U.S.C. § 1625(c).

         The BCR does not have to be a certain length or even “commercially sound” to

comply with the Third Proviso. The District Court in Horizon expressly affirmed CBP’s

ruling on the lack of any de minimis length standard, and held that there is no requirement

that the Canadian rail line be “commercially sound” to satisfy the Third Proviso. The

Horizon Court rejected virtually word-for-word Horizon’s argument that CBP has now

adopted, without any public notice and comment period, as its new requirement:

         [Horizon] argues that the Third Proviso contains an implied prohibition on
         “sham or commercially impractical Canadian rail movement to achieve
         ‘technical compliance’ with the literal terms of the statute.” In support,
         [Horizon] argues that the term “through routes” as used in the Third Proviso
         means the most “direct” route. . . . Plaintiff can point to no case in which the
         intent of the shipper, other than to transport goods according to the route
         described, was relevant to the determination of whether a through route
         existed. If Congress wishes to limit the use of the Third Proviso to specific
         routes or to require the STB to evaluate the commercial soundness of a
         proposed route, it has the authority to do so, but the Third Proviso as
         currently written contains no such requirement.

Horizon Lines, LLC. v. United States, 414 F. Supp. 2d 46, 55 n.6 (D.D.C. 2006).




14
     See Dkt. 5 at 30-35.
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       The use of the BCR in the Bayside Program complies in every way with the plain

and unequivocal text of the Jones Act and the Third Proviso, CBP’s own interpretive

rulings governing those provisions, and the Horizon Court’s interpretation of the

“Canadian rail lines” requirement.

                3.    Plaintiffs Are Not Required to File a Rate Tariff to Comply With
                      the Third Proviso.

       CBP also argues that Plaintiffs are not in compliance with the Third Proviso because

they “have not filed the required route and tariff rates with the STB in connection with their

use of the BCR.” (Dkt. 38 at 21). This argument is meritless for several reasons.

       First, Plaintiffs are under no obligation to file a rate tariff to comply with the Third

Proviso. The text of the Third Proviso, as discussed above, permits the use of non-

coastwise vessels if, among other requirements, the “[through] routes are recognized by the

[STB] and rate tariffs for the routes have been filed with [STB].” 46 U.S.C. § 55116. As

discussed infra p. 27, rate tariffs have been filed with the STB by ASC for the Dutch

Harbor to eastern United States through route.

       Even absent that filing, however, a long line of CBP rulings spanning over twenty

years have held that no rate tariff need be filed with the STB with respect to transportation

exempt from such filings (including “rail transportation of frozen processed fish or

seafood”) and because of the lack of any enforcement power with the STB to regulate such




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tariffs. (See, e.g., Ruling Letters 105604, 115446 (Dkt. 6-7) and Gross Dec. Ex. 1,

116021). 15

       Additionally, CBP has stated that where carriers enter into private carriage

agreements with shippers—as is the arrangement between the parties in the Bayside

Program—as opposed to offering common carriage, no rate tariff filing is required. (See

Gross Dec. Ex. 1, Ruling Letter 116021). Those CBP rulings have never been modified or

revoked by CBP.

       While the district court in Horizon, determined in 2004 that CBP’s reasoning

concerning the need for a rate tariff filing was arbitrary and capricious, 16 the court

specifically did not vacate CBP’s prior rulings, but instead remanded the matter to CBP for

further proceedings, 414 F. Supp. 2d at 60. Since that 2004 remand, CBP has not revised

or modified its regulatory rulings concerning the tariff filing issue.17


15
    In the Sunmar Rulings, CBP noted that the tariff filing requirement in the Third Proviso
is the remnant of a tariff filing regime that Congress abolished. See Interstate Commerce
Commission Termination Act (“ICCTA”), Pub. L. 104-88, 109 Stat. 803 (1995). The
ICCTA requires only common carriers of household goods, or common carriers of certain
cargoes in the non-contiguous domestic trade, to file rate tariffs with the STB. See 49
U.S.C. § 13702.
16
  In the same decision, the Horizon court rejected any commercial soundness standard
for compliance with the Third Proviso. 414 F. Supp. 2d at 54 n.6.
17
  “Remand” and “vacate” are not simply interchangeable terms and the Court should not
overlook what the Horizon decision actually says, despite what CBP has argued. Indeed,
the Horizon decision in fact never became final because of the lack of any agency action on
remand. See Morrison v. Dep’t of the Navy, 876 F.3d 1106, 1109-10 (Fed. Cir. 2017)
(“an order remanding a matter to an administrative agency for further findings and
proceedings is not final”); Cabot Corp. v. United States, 788 F.2d 1539, 1542 (Fed. Cir.
1986); see also Caesar v. West, 195 F.3d 1373, 1374 (Fed. Cir. 1999) (“Remands to
administrative agencies, because they mark a continuation of the case, are not generally
considered final decisions for jurisdictional purposes.”). The Horizon decision was not a
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       CBP attempts to rely on the Horizon court’s footnote that “any substantially identical

Customs ruling will be revoked as a matter of law if the Court vacates the Sunmar Ruling.”

(Dkt. 38 at 22 (citing Horizon, 414 F. Supp. 2d at 54 n.5)). But CBP ignores the indisputable

fact that the court did not vacate the Sunmar Ruling Letters at issue (115446, 116021 and

116185), but instead remanded the case to CBP for further proceedings. Id. at 61. Thus, by

its terms, the Horizon decision had no effect on any similar Third Proviso rulings, none of

which required the filing of a rate tariff. 18

       CBP’s reliance on 19 C.F.R. § 177.12(d)(1)(iv) to avoid its statutory obligation to

publicly modify or revoke its interpretive rulings in the wake of Horizon (Dkt. 38 at 22) is

also misplaced. This provision provides that the “rendering of a judicial decision which

has the effect of overturning [CBP’s] position” is exempt from the general rule requiring

publication of changes to CBP’s interpretive rulings. See 19 U.S.C. § 1625(c); 19 C.F.R. §

177.12(b) & (c). However, this regulation—a part of which has been found to be an




final judicial disposition sufficient to revoke by implication CBP’s interpretive rulings
regarding the Third Proviso tariff filing requirements.
18
   Indeed, in a decision denying a motion for reconsideration filed by ASC, the Horizon
court clarified its decision, and made clear that its decision concerned the facts and
reasoning stated in CBP Ruling Letters only and did not reach the correctness of their
holding. The court explained that “[t]he extent of inconsistency and error throughout
CBP’s Sunmar Rulings rendered the Court unable to conclude that the agency had
‘examined the relevant data and articulate[d] a satisfactory explanation for its action
including a rational connection between the facts found and the choice made.’” 429 F.
Supp. 2d 92 at 98 (citations omitted). Thus, the Horizon remand decision allowed CBP
to resolve the inconsistencies perceived by the Court and to determine whether the same
or a different result was required.
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invalid implementation of §1625(c) 19—is not applicable because of the remand, and in any

event, does not relieve CBP of its duty to provide clear notice of its change in enforcement

priorities and interpretive rulings under the due process clause of the Fifth Amendment,

particularly where the Horizon issue expressly did not overturn CBP’s position, but simply

remanded for further regulatory action. 20 See Blumenthal, 590 F.2d at 1165 (“persons

should receive clear and unequivocal warning before facing exposure to harsh [Jones Act]

penalties . . . where the penalty for noncompliance is enormous”); Gen. Elec. Co. v. U.S.

E.P.A., 53 F.3d 1324, 1328–29 (D.C. Cir. 1995) (agency’s failure to provide a party with

fair warning of its interpretation of regulations resulted in a “drastic” penalty that violated

due process). CBP cannot be allowed to leave on its official books clear guidance stating

that “no rate tariff filing is required,” take no action indicating its prior position has

changed, and then point to a judicial decision from fifteen years ago and concede that its

interpretive rulings were always invalid. This type of inconsistent rulemaking and the

mammoth penalties that may be assessed as a result offends “elementary fairness” and

violates Plaintiffs’ right to due process. Gen. Elec, 53 F.3d at 1329.




19
   See California Indus. Prod., Inc. v. United States, 436 F.3d 1341, 1356 (Fed. Cir.
2006) (holding CBP’s narrow interpretation of the term “substantially identical
transactions” was contrary to 19 U.S.C. § 1625(c)(2)).
20
   Pursuant to 19 C.F.R. § 177.9(a), CBP rulings are binding on all Customs Service
personnel until modified or revoked and the principle of the ruling may be cited as
authority in the disposition of transactions involving the same circumstances. In addition,
principles established in a CBP ruling may be cited as precedent in any similar
transactions. Id.
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           In short, CBP has been unable to refute Plaintiffs’ showing that they have been in

full compliance with the Third Proviso of the Jones Act.

                  4.     Rate Tariffs Covering the Through Route are on File with the
                         STB.

           Even if the Court were to find that ASC was required to file a rate tariff with the

STB after Horizon (which it did out of an abundance of caution in August 2006), that tariff

as recognized by the STB remains in full force and effect and its recognition has never

been revoked. CBP contends that the ASC tariff does not contain all of the technical

information to permit ARM to rely on the tariff for itself, citing the requirements of 49

U.S.C. § 13702(b). (Dkt. 38 at 22). However, requiring rigid technical compliance in this

instance—where rate tariffs serve no regulatory purpose and are only required to satisfy the

Third Proviso—is inappropriate and unnecessary, particularly when the consequences for

not strictly following the technical requirements are so devastating, as the Penalty Notices

reflect.

           Contrary to CBP’s argument, the rate tariff filed by ASC is not void and its

recognition has never been questioned, much less invalidated, by the STB. The STB

“may” invalidate tariffs for not including information required by §13702(b), but

invalidation is not automatic and some affirmative action must be taken by the STB for

invalidation to be accomplished. See 49 U.S.C. § 13702(d) (“The [STB] may invalidate a

tariff prepared by a carrier or carriers under this section if that tariff violates this section or

a regulation of the [STB] carrying out this section.”). The STB has never invalidated the




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tariffs and CBP’s attempt to do so now is improper since only the STB may invalidate rate

tariffs.

           Here, to the extent a tariff filing is deemed to be required, the Bayside Program

utilizes the same through route as in the ASC tariff filing, which has been recognized by

the STB for the Dutch Harbor-eastern U.S. transportation route. 21

           B.     Plaintiffs Have Established a Likelihood of Success on their Claims
                  that CBP Violated 19 U.S.C. § 1625(c)(1) and (2).

           Plaintiffs are also likely to prevail on their claims arising from CBP’s notice and

comment obligations set forth in 19 U.S.C. § 1625(c). First, CBP concedes that the Ruling

Letters are more than sixty days old, that CBP has not published any modification or

revocation of the Ruling Letters in the Customs Bulletin, and that the Ruling Letters

constitute a “treatment” for purposes of a §1625(c) claim. See Kahrs Int’l, Inc. v. United

States, 33 C.I.T. 1316, 1354 (2009) (listing the elements to succeed on a §1625(c) claim).

As such, the only remaining elements to be established by Plaintiffs are (i) whether a

proposed CBP decision would have the effect of “modifying or revoking” the Ruling

Letters, and (ii) whether entries under the Bayside Program constitute “substantially

identical transactions” to those previously considered by CBP. See id.




21
    The statute does not mandate that every carrier or entity involved in the Bayside
Program file a rate tariff, and CBP points to no authority indicating otherwise. The statute
only requires that the route being utilized is “recognized” by the STB (see Dkt. 5 at 35,
n.11) and rate tariffs for the route are on file with the STB. Both conditions are met in this
case. Any technical violations in the contents of the tariff, which has zero regulatory
impact vis-a-vis the STB, should not be the basis of hundreds of millions in penalties
assessed by an agency that has no enforcement power over the contents of the tariff.
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       CBP contends that it has not changed its enforcement practices and not modified

any of its interpretive rulings, and that it is Plaintiffs that modified their prior business

operations that complied with the Third Proviso by switching to the BCR without seeking a

ruling letter in advance. (Dkt. 38 at 40). CBP further claims that their prior Ruling Letters

never sanctioned the use of the BCR or involved “substantially identical” facts. (Dkt. 38 at

24). CBP’s claims are meritless and are nothing more than a post hoc attempt to rationalize

CBP’s conduct penalizing a company whose Canadian rail line fully complies with the

Third Proviso.

       First, as described above, CBP’s penalty enforcement actions and the arguments it

makes in its Opposition have the effect of modifying or revoking its interpretive rulings on

the Third Proviso. In practical and legal effect, the BCR rail line is indistinguishable from

the NBSR despite its shorter length. The BCR’s use of a one-hundred foot rail line that

involves transportation of goods by rail from Point A to Point B and then back to Point A is

simply another form of rail trackage designed to comply with the Third Proviso.

       The rationale provided in the long line of CBP Ruling Letters applies equally to the

BCR rail line. As CBP has repeatedly noted, “in part over Canadian rail lines” is any use

of Canadian rail. As noted, the Third Proviso does not have a de minimis requirement for

“in part over Canadian rail lines,” nor has CBP in the last twenty years read such a de

minimis requirement into the statute.” (See, e.g., Gross Dec. Ex. 1, Ruling Letter 116021).

Nor is there any commercial soundness requirement as both CBP and the Horizon court




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definitively have confirmed. (See supra p. 18-23). CBP has made this exact ruling at least

seven times since 1982 and has never publicly modified or revoked it. 22

       Moreover, NBSR was also used exclusively to comply with the Third Proviso, and

the lengthy extra trucking and rail distance was designed solely to satisfy the rail trackage

requirement. There is no practical difference between the NBSR and the BCR, which does

not send the cargo in the opposite direction from the United States border as part of the

through route. And CBP asserted and prevailed in Horizon on its contention that it is

permissible to structure rail trackage along extremely short, non-“natural” routes entirely

for purposes of satisfying the requirements of the Third Proviso. (Dkt. 6-16 at 11-15

(citing St. Louis Sw. Rwy., 245 U.S. at 136, n.4; Sea-Land, 404 F.2d at 827; In the Tapline

Cases, 234 U.S. 1 (1914); Blumenthal, 590 F.2d at 1164)).

       Second, the transactions CBP explicitly approved of that utilized the NBSR rail line

are substantially identical to the transactions utilizing the BCR through the Bayside

Program. (Compare Ruling Letter 115446 (Dkt. 6-7) with Dkt. 5 at 16-17). In both

instances, frozen seafood is shipped on non-coastwise qualified vessels from Dutch Harbor,

Alaska to New Brunswick, Canada through the Bayside Port under a through route bill of

lading. The cargo is loaded into trucks which are taken to a registered Canadian railroad.

The cargo is loaded onto a railcar and transported “over rail trackage in Canada.” The use

of Canadian rail is only used to satisfy the Third Proviso and is not “commercially sound.”




22
  See Ruling Letters 105604 (April 30, 1982), 111987 (Dkt. 6-22), 112085 (Dkt. 6-12),
113141 (June 29, 1994), 113365 (Dkt. 6-23), 114407 (Dkt. 6-24), and 115124 (Dkt. 6-8).
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Once the cargo is transported via rail, the trucks carrying the cargo proceed to the Calais,

Maine border crossing and proceed to end-destinations in the eastern United States. The

only, immaterial differences between the transactions utilizing the NBSR and the BCR are

the location of the rail line relative to the Bayside port and the length of travel the cargo

takes over Canadian rail. As discussed above, numerous Ruling Letters, which have never

been revoked, indicate these factors do not matter. By any account, the Bayside Program is

substantially identical to the transactions utilizing the NBSR. 23 As such, Plaintiffs are

likely to prevail on their claims that CBP violated 19 U.S.C. § 1625(c)(1) and (2) by not

publicly revoking or modifying its prior interpretive rulings regarding the Third Proviso.

       C.       CBP Has Failed to Rebut KIF’s Showing It Has Established a
                Likelihood of Success on Its Fifth Amendment Due Process Claims.

       KIF has also demonstrated that it is likely to succeed on the merits of its claim that

CBP’s conduct, in relying on secret, undisclosed new interpretations of the Third Proviso,

and imposing crushing penalties based on such interpretations, fundamentally violates

KIF’s Fifth Amendment rights. (Dkt. 5 at 41-43). That constitutional violation is all the

more egregious now that CBP has admitted that it has been on express notice of the alleged

violation for more than four years and—instead of inquiring from Plaintiffs as to the basis

for their views that they were in compliance—remained lying in wait before suddenly


23
   Moreover, there was no obligation, contrary to CBP’s contention, to seek any
interpretive ruling from CBP on Plaintiffs’ use of the BCR. CBP concedes that it never
published any interpretive guidance revoking or modifying the Ruling Letters. The
Bayside Program is substantially identical to what was in effect prior to 2012, just more
efficient, so there was no reason to seek an interpretative ruling from CBP. Any revision to
this long-standing interpretive guidance required CBP to follow its notice and comment
rulemaking obligations set out in §1625(c).
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springing unprecedented penalties totaling hundreds of millions of dollars on Plaintiffs and

others in their chain of supply.

       In contending that KIF has not demonstrated any Fifth Amendment claim, CBP

relies on four groundless arguments. First, it contends that KIF’s Fifth Amendment

argument is premised on the contention that the Third Proviso is impermissibly vague. But

that is not KIF’s claim. Plaintiffs have no quarrel with the plain statutory language of the

Third Proviso—only with CBP’s failure to provide fair notice that it fundamentally had

changed its more than fifteen-year old, consistent interpretive guidance concerning the

Third Proviso by now claiming that the tariff that has been on file for more than fifteen

years is somehow inadequate or even required, that some de minimis Canadian rail line

length is necessary and that the transport “in part over the Canadian rail line” must be

“continuous” and connect two distant points.

       KIF’s claim is based—not on any statutory vagueness—but on the violation of its

due process rights without the requisite notice and opportunity to be heard. See BMW of N.

Am., Inc. v. Gore, 517 U.S. 559, 574 (1996) (“Elementary notions of fairness enshrined in

our constitutional jurisprudence dictate that [one] receive fair notice not only of the

conduct that will subject him to punishment, but also of the severity of the penalty that . . .

may [be] impose[d].”). 24


24
   CBP contends that Plaintiffs misread ExxonMobil Pipeline Co. v. United States Dep’t of
Transportation because the court’s fair notice requirement dealt with an interpretation
entitled to Auer deference. However, it is actually Defendants who misread ExxonMobil,
as the court states: “Even assuming arguendo that we were to determine that the
regulations . . . are ambiguous, the agency's interpretation would still fall short of
warranting Auer deference for the additional and independent reason (emphasis added)
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       Second, CBP claims that Plaintiffs’ constitutional argument is “curious” because

KIF did not request a ruling letter from CBP that would confirm that its rail usage

complied with the Third Proviso. (Dkt. 38 at 29). But citizens are not required to seek

confirmation from an agency that it has not fundamentally changed its long-standing

rulings and guidance, upon which the industry has relied and continues to rely, without the

statutorily-required notice and comment. CBP bears the sole responsibility and obligation

to comply with the Fifth Amendment and regulatory rules.

       CBP’s third argument is equally meritless: CBP argues that it has not yet violated

KIF’s rights because KIF will have the chance to challenge the $25 million in penalties

assessed against it in an administrative process. This argument ignores the overwhelming

evidence presented by Plaintiffs in connection with the enormous harm they already have

suffered and the likelihood of irreparable harm they will suffer absent immediate injunctive

relief. (See supra p. 13-17, Dkt. 5 at 44-46). CBP cites no authority supporting its

argument that no constitutional claim arises where the undisputed facts show that the mere

issuance by CBP of such astronomical and crippling penalties threatens the immediate

destruction of KIF’s business and the livelihood of its employees. 25




that ExxonMobil lacked fair notice of the interpretation of the regulation.” 867 F.3d 564,
578 (5th Cir. 2017). Irrespective of any determination of a regulation’s entitlement to Auer
deference, the court in ExxonMobil held precisely what Plaintiffs assert in the Motion.
25
  CBP also cites statutes that require pre-penalty notices for the proposition that the Jones
Act does not expressly require the same. That misses the point: KIF does not contend the
notice was required by statute, but rather by the U.S. Constitution. CBP cannot validly
argue that the constitutional requirements of due process do not apply to all of its
regulatory enforcement actions.
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       CBP’s fourth point is based on offensive speculation. CBP argues that even if it had

provided the constitutionally-required notice and due process, KIF would have disregarded

CBP’s notice and continued with its alleged violation of the Third Proviso. (Dkt. 38 at 31).

The speculation is groundless and directly contradicted by the evidence concerning (a)

Plaintiffs’ repeated efforts to obtain from CBP an understanding as to the basis for its

contention that Plaintiffs had violated the Jones Act, and (b) Plaintiffs’ immediate cessation

of product shipments from Bayside into the United States and additional vessel voyages

with U.S.-bound cargo from Alaska to Bayside. Despite Plaintiffs’ repeated pleas over a

one-month seeking information and transparency (see Dkt. 15, Robertson Dec. at ¶¶ 3, 8-9,

12-13, 15-16, 19), CBP refused to explain the basis for its charge that Plaintiffs had

violated the Jones Act, until Plaintiffs commenced this action seeking emergency

injunctive relief and CBP was served with this Court’s order requiring a response to

Plaintiffs’ Motion. In its Opposition, CBP for the first time disclosed the baseless

arguments supporting its contention that Plaintiffs had violated the requirements of the

Third Proviso. In the interim, while CBP continued to hide the ball, the Bayside Program

has been paralyzed and is at a dead stop. Despite Plaintiffs’ understanding and belief that

they were in full compliance with the Jones Act, had they been advised by CBP of the

purported concerns, Plaintiffs immediately would have met with CBP to discuss and

address them and promptly would have modified their program to the extent the parties

agreed necessary to remain in full compliance with all Third Proviso requirements. CBP’s

suggestion to the contrary is baseless.


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       D.       KIF Has Established a Likelihood of Success on its Eighth Amendment
                Excessive Fines Claim.

       CBP also has failed to refute KIF’s showing of likelihood of success in connection

with its excessive fines claim. CBP first argues that the Court should not consider

Plaintiffs’ excessive fine claim because it is “premature.” (Dkt. 38 at 32). Because CBP

has the power to mitigate or rescind penalties, CBP claims that “there is no way to know

what Penalty CBP will ultimately seek to collect from Plaintiffs” and “no way to judge

whether the unknown penalty is grossly disproportionate” to Plaintiffs’ alleged violation.

(Dkt. 32 at 38). As with CBP’s invalid invocation of this “defense” to KIF’s Fifth

Amendment claim (see supra p. 31), the possibility that the agency may reduce the

excessive fine in no way diminishes this constitutional claim. Even if penalties later may

be reduced or eliminated, the mere issuance of excessive fines infringes on KIF’s

constitutional rights. Accord United States v. Alvarez, 567 U.S. 709, 723 (2012)

(recognizing constitutional rights may be chilled by the overbroad exercise of

governmental power). The likelihood of immediate irreparable harm resulting from even

the possibility that KIF and others may be subject to some or all of these enormous

penalties is occurring now. (See supra pp. 13-17). If CBP later finds that the purported

penalties should be reduced or eliminated, that does nothing to protect against the current

threat of immediate irreparable harm.

       Moreover, it is little comfort that CBP “may” reduce the penalties when it has

shown no willingness to engage Plaintiffs and others in the Bayside Program in a

meaningful dialogue on remedying any perceived issues with the Bayside Program since


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issuing the Penalty Notices over a month ago, even though it has had explicit knowledge of

the BCR since as early as April 2017. 26 (Dkt. 15, Robertson Dec. at ¶ 19; Dkt. 39-1). This

is especially true in light of the fact that CBP has imposed outrageous and crushing fines to

multiple parties all in connection with the shipment of the same product—fines that are

equal to more than five times the value of the shipped merchandise. (See Adamski Reply

Dec. ¶¶ 4-8.) CBP also cites no authority for the proposition that an excessive fine claim

under the Eighth Amendment is not ripe until the penalty is actually paid. Such a

requirement would make a mockery of constitutional challenges—effectively allowing the

government to drive a plaintiff out of business, or file for bankruptcy protection, before a

claim was ripe for adjudication. The law is not so devoid of fundamental principles of

fairness as to require the victim of an excessive fine to become destitute in order to sue for

the violation.

       CBP also argues that it is entitled to deference in its issuance of Jones Act penalties

(Dkt. 38 at 33-34) because its penalties purportedly are not “grossly disproportionate” to

the gravity of the offense. CBP ignores the fact that the alleged offenses are not “grave”

but instead highly technical and de minimis in nature and instead relies on the myth

concerning Plaintiffs’ purported “evasion of the Jones Act . . . over many years” and the

alleged but undefined “substantial” harm to the public from the alleged violations. (Dkt. 38



26
  CBP has in fact been on notice of the BCR rail through the Bills of Lading for each of
the thousands of shipments utilizing the Bayside Program since 2012. (See supra at
n.12). Further, it is particularly offensive for CBP to accuse Plaintiffs of hiding the BCR
and its operation when CBP officials evidently inspected the BCR shortly after it began
operations in 2012. (See Weare Dec. ¶ 7).
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at 33). The charge of “evasion” is contradicted by Plaintiffs’ transparency concerning the

use of the BCR rail line as reflected in countless of bills of lading filed with CBP for

shipments between 2012 and the present. And there is nothing substantial in the technical

violations alleged by CBP. The alleged violations in no way justify the massive and

crippling size of the penalties assessed. The enormity of the fines simply pales in

comparison to the alleged violation. Accord Colorado Dep’t of Lab. & Emp. v. Dami

Hosp., LLC, 442 P.3d 94, 101–02 (Colo. 2019) (“The concept of ‘proportionality’ itself

also persuades us that ability to pay is an appropriate element of the Excessive Fines

Clause gross disproportionality analysis. A fine that would bankrupt a person or put a

company out of business would be a substantially more onerous fine than one that did

not.”). These violations do not constitute a “gross” offense sufficient to justify such huge

penalties. 27



27
    The second and third Bajakajian factors used to identify whether a punishment is
grossly disproportional to the underlying offense require an analysis into “(2) whether the
underlying offense related to other illegal activities; [and] (3) whether other penalties
may be imposed for the offense.” See United States v. $100,348 in U.S. Currency, 354
F.3d 1110, 1122 (9th Cir. 2004) (enunciating the “Bajakajian factors”). These factors
weigh heavily in Plaintiffs’ favor. Use of the BCR rail line neither constitutes an illegal
activity nor justifies the imposition of other penalties. Citing to Pimentel v. City of Los
Angeles, 974 F.3d 917, 923 (9th Cir. 2020), CBP asserts that the second and third factors
are “usually neutral in civil cases.” (Dkt. 38 at 34). The Pimentel court noted that in the
record before it, there was no information advancing these factors one way or another,
not that these factors should be disregarded in all civil cases. Moreover, in $100,348 in
U.S. Currency, another civil case, the Ninth Circuit not only considered the second and
third factors in its analysis, but actually credited the factors in plaintiff’s favor. See 354
F.3d at 1122; see also United States v. 3814 NW Thurman St., 164 F.3d 1191, 1197 (9th
Cir. 1999) (weighing the fact that the claimant had “not been charged with any related
criminal activity” in determining whether a forfeiture was excessive). Thus, the Court
should find that the second and third Bajakajian factors weigh in Plaintiffs’ favor.
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III.          THE BALANCE OF EQUITIES AND PUBLIC INTEREST FACTORS
              FAVOR PLAINTIFFS REQUEST FOR INJUNCTIVE RELIEF.

              CBP does not contest Plaintiffs’ showing concerning the balance of the equities. 28

       As regards the public interest prong of the Winter test, CBP argues that an injunction is not

       in the public interest because: (i) following the constitutional tolling doctrine would permit

       Plaintiffs to “break the law;” (ii) companies utilizing coastwise vessels in domestic trade

       will lose business they might otherwise pick up given the paralysis caused by CBP’s fines;

       and (iii) the Bayside Program violates the intent of the Third Proviso and the Jones Act.

       (Dkt. 38 at 40-42).

              CBP’s public interest arguments are baseless. Plaintiffs are not “breaking the

       law”—they are operating under a statutory exception to the Jones Act that CBP

       repeatedly has recognized in substantially identical situations. (See supra pp. 28-31; Dkt

       5 at 24-36). Moreover, CBP’s argument contravenes the essence of the constitutional

       tolling doctrine, which permits litigants to vindicate their rights without fear that

       exorbitant penalties would accrue during the pendency of litigation. See Wadley, 235

       U.S. at 651 (constitutional tolling doctrine precluded the government from seeking



       28
            Although the third and fourth Winter factors merge when the government is a party,
       courts still consider the balance of equities when analyzing whether the government action
       at issue is in the public interest. Porretti v. Dzurenda, No. 20-16111, 2021 WL 3853052,
       at *8 (9th Cir. Aug. 30, 2021) (“The ‘balance of equities’ concerns the burdens or
       hardships to [the individual] compared with the burden on [the government] if an
       injunction is ordered. The ‘public interest’ mostly concerns the injunction’s ‘impact on
       nonparties rather than parties.’” (citations omitted)). CBP thus concedes that Plaintiffs
       have established that the equities tip decidedly in their favor on this application. See City
       of Canton, Ohio v. Harris, 489 U.S. 378, 383-84 (1989) (failure to argue in brief in
       opposition is a waiver of argument).
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penalty actions for non-compliance with the statute during litigation); Pacific Coast, 451

F.2d at 717 (Federal Maritime Commission could not issue or enforce statutory penalties

during judicial proceedings). This is not a “get out of jail free card” as CBP claims—it is

a well-recognized component of due process that CBP asks this Court to ignore.

       Second, there is no evidence of “harm” to anyone in this case except Plaintiffs,

third-parties involved with the Bayside Program, and American workers and consumers.

(See supra pp. 13-17 and Dkt. 5 at 46-47). Plaintiffs’ competitors arguably may benefit if

Plaintiffs and others involved in the Bayside Program supply chain are driven out of

business. (See Dkt. 38 at 42 (citing declarations of various competitors claiming, without

any evidence, that the Bayside Program causes them “harm”)). But even if CBP’s

enforcement actions serve some narrow special interests, heavy-handed government

action that arbitrarily picks winners and losers while violating constitutional rights is not

in the public interest.

       Third, an injunction is not contrary to the intent of either the Jones Act or Third

Proviso. The intent of the Third Proviso is plain on its face—to allow for non-coastwise

shipment under certain circumstances, all of which Plaintiffs meet here. Indeed, the

existence of the Third Proviso in the Jones Act is the clearest evidence of Congressional

intent to allow non-coastwise vessels to be used in coastwise trade. See Connecticut Nat.

Bank v. Germain, 503 U.S. 249, 253–54 (1992) (“We have stated time and again that




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courts must presume that a legislature says in a statute what it means and means in a

statute what it says there.”). 29

       Moreover, the Penalty Notices will do nothing but hurt American companies and

consumers in the short and long term. CBP’s destruction of Alaskan fishing businesses,

destruction of American food processing and related jobs, and destruction of the

American food supply surely do not further the Jones Act’s purpose.

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    Whether the “intent” of the Third Proviso was to avoid disturbing “established routes”
prior to 1920 (see Dkt. 41) is irrelevant because the wording of the statute does not make
any distinction about “established” routes versus “new” routes. See 46 U.S.C. § 55116.
As the plain language of the Third Proviso provides no refuge for CBP, they seek support
in statutory intent by now asserting implicitly that its prior rulings on the Third Proviso
were inconsistent with that intent, but the outmoded history and vestiges of an earlier
regime no longer support CBP’s new and unpublished interpretation, if it ever did.
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                                            CONCLUSION

        Based on the foregoing the reasons set forth in Plaintiffs’ moving papers, Plaintiffs’

respectfully request that the Court grant their motion for a temporary restraining order and

preliminary injunction.

         DATED this the 14th day of September, 2021.

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         CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the 14th day of
September, 2021, a true and correct copy of the foregoing was
served via the Court’s CM/ECF electronic filing system, on the
following:

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